                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

WILLIAM C. YOUNG,                              )
                                               )
                             Plaintiff,        )
                                               )
       v.                                      )    Civil No. 14-0127-CV-W-DW
                                               )
UNIFIED GOVERNMENT OF                          )
WYANDOTTE COUNTY/KANSAS CITY,                  )
KANSAS, et al.,                                )
                                               )
                             Defendant.        )

                             JUDGMENT IN A CIVIL ACTION

       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

 X Decision by Court. This action has been considered and a decision has been rendered by
the Court.

IT IS ORDERED AND ADJUDGED that Plaintiff’s motion to proceed in forma pauperis is
denied and the action is dismissed without prejudice.



February 21, 2014                    Ann Thompson
Dated                                Clerk of Court

February 21, 2014                    /s/ Alex Francis
Entered                               (by) Deputy Clerk




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